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                     Expert Report of Vonda Reeves-Darby, M.D.

                                  Xarelto Litigation

                   Mingo v. Janssen, et al.; Case No. 2:15-cv-3469




  Vonda Reeves-Darby, M.D.                             Date




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  I.     Background and Qualifications
        I am a Board Certified Gastroenterologist licensed to practice medicine in
  Mississippi and Texas. Since 1997, I have been in private practice at Gastrointestinal
  Associates, P.A. in Jackson, Mississippi. I am also an Adjunct Assistant Professor in
  the Department of Internal Medicine at Meharry Medical College in Nashville,
  Tennessee.
        I am a native Mississippian. I graduated from Millsaps College in Jackson,
  Mississippi, in 1978 with a Bachelor’s of Science in Chemistry. I obtained my medical
  degree from Meharry Medical College, graduating with honors in 1982. I completed a
  one-year internship (1982-1983) and a three-year residency (1983-1985) in Internal
  Medicine at the University of Texas Medical Branch (UTMB) in Galveston, Texas. I was
  chosen to receive fellowship training in Gastroenterology at UTMB, which I completed
  from 1988-1991. Before returning to Mississippi, I spent six years as an Assistant
  Professor of Medicine in the Division of Gastroenterology at UTMB.
          In 1997, I joined Gastrointestinal Associates, P.A. In addition to my full-time
  clinical practice, I was a Clinical Assistant Professor of Medicine at the University of
  Mississippi Medical Center (Jackson, MS) from July 1997 through 2010. In 1999, I
  became a Senior Partner of Gastrointestinal Associates, which is now the largest
  gastroenterology group in Mississippi and one of the largest in the Southeast,
  employing twenty-three gastroenterologists and drawing patients from all over
  Mississippi and neighboring states. Gastrointestinal Associates treats the full spectrum
  of gastrointestinal disorders, and we have three free standing endoscopy units. In my
  clinic practice, rarely do I encounter patients without preexisting medical conditions in
  addition to the chief gastrointestinal complaint. A significant portion of my patients are
  on prescription oral anticoagulants, such as Coumadin/warfarin, or are on a novel oral
  anti-coagulant (NOAC), which includes Xarelto. On average, I may treat approximately
  20-25 patients per day, which includes 60-80 procedures per week. In addition to the
  patients I see in the office, I also see patients in the hospital setting by virtue of the
  hospital rotation I share with my partners at Mississippi Baptist Medical Center, Merit
  River Oaks Medical Center and St. Dominic/Jackson Memorial Hospital. In the last five
  years, I have served as the on-call hospitalist approximately 20 to 40 times.
          I have treated many patients with gastrointestinal (GI) bleeds, both in the hospital
  and in the clinical setting. About 5 times per month, I see a patient with an acute
  existing GI bleed. Many patients that experience bleeds may have taken some form of
  anticoagulant – either over-the-counter medicines consisting of anti-platelet agents such
  as aspirin or Non-Steroidal Anti-Inflammatory drugs (NSAIDs), COX inhibitors,
  prescription Coumadin/warfarin, or a NOAC such as Xarelto. I have also treated active
  GI bleeds in patients that are not taking an anticoagulant at all. In my personal
  experience, fatal bleeding associated with NOACs, and Xarelto specifically, is a rare
  event. The bleeding that occurs while taking prescription NOACs can range in severity,
  but is usually manageable.

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         I have reviewed various materials in order to prepare this report, including the
  medical records of Dora Mingo, deposition testimony taken during the discovery of her
  case, and peer-reviewed medical literature. A list of the materials that I have relied
  upon in forming my opinions in this case is attached as Exhibit A. In addition, I have
  relied on my background, education, training and clinical experience to formulate my
  opinions. Further details regarding my credentials, accomplishments and research
  interests, including the conduction of clinical research trials on GI bleeding within the
  academic and private practice setting, are set forth in my Curriculum Vitae, which is
  attached as Exhibit B.
         My fee schedule is attached as Exhibit C.
         My previous testimony is attached as Exhibit D.
         My opinions stated below are given to a reasonable degree of medical certainty.


  II.    Ms. Mingo’s Medical History
          Ms. Mingo was a 66-year old African American woman with a medical history of
  type II diabetes, polyneuropathy, obesity, hypertension, hyperlipidemia, smoking, iron
  deficiency anemia, dysuria, chronic knee/ankle/foot pain, lower extremity
  swelling/edema, arthritis, insomnia and depression/anxiety when she underwent a right
  total hip replacement on January 6, 2015. Past surgical history included tubal ligation,
  tonsillectomy and cholecystectomy. At the time of her surgery, she had been taking
  aspirin continuously since 2007 and a variety of concomitant NSAID use since 2009.
          Ms. Mingo’s records indicate onset of right hip pain in June 2013, and consistent
  treatment for symptoms of inflammatory arthritis or osteoarthritis as early as 2011. In
  June 2014, Mingo reported to her family medicine physician, Dr. Jennifer Gholson, that
  the Hydrocodone and Celebrex had been providing relief of her chronic right hip/inner
  thigh pain, “but she had run out of those meds.” According to Dr. Gholson’s record of
  June 4, 2014, she prescribed Hydrocodone/Acetaminophen, discontinued Celebrex and
  initiated Meloxicam but cautioned Ms. Mingo regarding the excessive use of NSAIDs.
  Ms. Mingo had previously been lectured about the improper use of pain medications
  prescribed to other family members. In August 2014, Ms. Mingo established care with
  an orthopedic and sports medicine clinic, stating that she had been taking Mobic
  (Meloxicam, an NSAID), but it had been discontinued upon her family doctor’s advice.
  She was still taking Acetaminophen/Hydrocodone (Norco) and using a cane to
  ambulate. Dr. Jeffrey Burns diagnosed localized osteoarthritis in the right hip and
  discussed with Ms. Mingo the medical versus surgical options for treatment. Ms. Mingo
  was given a guided steroid injection to the right hip on 9/3/2014. She returned to Dr.
  Burns on 9/26/2014 on Norco (5 mg/325 mg), aspirin, and Hydrocodone/Ibuprofen. Dr.
  Burns discussed with Ms. Mingo the risk of narcotic addiction based on her use of
  narcotic pain medications. In November 2014, she sought a second medical opinion
  from Dr. Gandy. Ms. Mingo reported a pain level of 10 on a 10-point pain scale to him.

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  Ms. Mingo opted to proceed with total hip replacement surgery. She was scheduled for
  surgery on 1/6/2015.
         Dr. Gandy’s preoperative evaluation of Ms. Mingo on 12/29/2014 indicated that
  she was taking multiple medications, including aspirin, Metformin, Lortab, Anaprox (an
  NSAID), Furosemide, Azor, Alprazolam and iron. Preoperative orders on 1/6/2015
  indicate that aspirin and Metformin were withheld prior to surgery. The surgery was
  performed without complication.
         During her hospitalization for hip surgery, medication administration records
  indicate that Ms. Mingo received once daily treatment of Lovenox (40 mg), an
  anticoagulant therapy indicated to help reduce the risk of developing deep vein
  thrombosis (DVT), and aspirin (81 mg) starting on 1/7/2015. Ms. Mingo received a post-
  operative consultation related to the management of her medications, diabetes and
  hypertension in particular. “Low-dose aspirin” was to be reinitiated, as well as the anti-
  hypertensive and anti-depressant prescription medications. A third dose of Lovenox
  and aspirin was administered at 0748 hours on 1/9/2015. She was later discharged from
  St. Dominic’s with orders for Home Health to assist with aftercare related to limited
  mobility and medication management. Dr. Gandy’s discharge orders included Lovenox
  (40 mg) subcutaneously for 7 days, then Ecotrin/aspirin (325 mg) orally, once a day.
         Laboratory values on the day of discharge include an elevated white blood cell
  count of 13.7; a decreased red blood cell count of 3.13; a decreased hemoglobin of 8.7
  g/dL; and a decreased hematocrit of 26.4 g/dL. It is not uncommon to see a decrease
  in the hemoglobin and hematocrit values after a total hip replacement surgery; however,
  these values were significantly lower than her pre-operative values. Notably, Ms. Mingo
  was taking the anticoagulant, Lovenox, at this time. These values indicate she was
  anemic at the time of discharge.
         After Ms. Mingo’s seven-day course of Lovenox ended on 1/16/2015, she was to
  resume aspirin (325 mg) per order of Dr. Gandy. She was also instructed to wear TED
  hose. Ms. Mingo’s lower extremity edema continued after her hip surgery. On
  1/21/2015, Ms. Mingo saw her primary care physician, Dr. Jennifer Gholson,
  complaining of feet swelling. On 1/22/2015, she underwent venous ultrasound of her
  lower extremities. Deep vein thrombosis (DVT) was diagnosed. Ms. Mingo was
  admitted to the ER of Southwest Mississippi Regional Medical Center. Her current
  home medications were reported as aspirin (325 mg); Lovastatin; Azor; Lasix;
  Metformin; Lortab; Xanax and Potassium. At 1905 hours, Lovenox (89 mg) was given
  and later, she received warfarin (10 mg) at 2217 hours. At the time of her
  hospitalization for DVT, Ms. Mingo’s hemoglobin was only slightly decreased to 11.2.
  Her chemistry panel was within normal limits except for her serum glucose.
          Ms. Mingo had an international normalized ratio (INR) of 0.88 on 1/22/2015. INR
  is a calculation based on results of prothrombin time (PT) and is used to monitor the
  effectiveness of the anticoagulant warfarin (Coumadin). INR is not a useful test for

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  determining the therapeutic range of a patient with only one prior dose of Coumadin, as
  Ms. Mingo had received.
          Ms. Mingo was admitted to Southwest Mississippi Regional Medical Center on
  1/22/2015. Her primary attending was Dr. Renie Jordan on 1/23/2015. His evaluation
  was unremarkable except for an “obese abdomen and swollen R-lower extremity.” Dr.
  Jordan discontinued the order for Lovenox and Coumadin and switched her to Xarelto
  15 mg orally twice per day, stating “[t]he patient is already on Xarelto. No further
  prophylaxis is needed.” He ordered Xarelto 15 mg twice daily for 21 days, with a plan to
  transition her to 20 mg orally once daily for 30 days. Dr. Jordan’s treatment plan was
  appropriate as the approved dose of Xarelto for the treatment of DVT and prevention of
  recurrent DVT.
         Records show that Ms. Mingo received her first three doses of Xarelto in the
  hospital – twice on 1/23/2015 and then once on the morning of 1/24/2015. On the
  morning of 1/23/2015, Ms. Mingo had an INR of 2.08. This was after one administration
  of warfarin (10 mg), which was the only dose of warfarin that Ms. Mingo received.
         The discharge instructions on 1/24/2015 stated that she was to stop taking
  aspirin (325 mg) and continue the Xarelto. Home health was resumed, which included
  instructions and education related to use of blood thinners. Records indicate that she
  had knowledge that she was at an increased risk for bleed on Xarelto and that she
  understood to report rectal bleeding to a physician. New medication orders on
  1/27/2015 included Xarelto and (aspirin 325) mg, and subsequent home health records
  indicated that both were being taken as prescribed.
         On 2/2/2015, Ms. Mingo presented to a King’s Daughters emergency room with
  similar complaints of swelling. At this time, she had developed a stage 2 pressure ulcer
  to her sacrum as a result of limited mobility. Current medications included Xarelto (15
  mg) and aspirin (325 mg). Her hemoglobin was 8.6, her hematocrit was 27.2, and she
  had a heme-positive stool test. She had a bleeding scan to detect active bleeding in the
  bowel, which was negative. This test is reliable for detecting active, heavy bleeding, but
  often fails to detect low volume bleeds. The test results therefore suggest absence of
  large volume bleeding at the time. It does not rule out the possibility that she had been
  bleeding beforehand, or that she was bleeding slowly. She was discharged home from
  the ER in stable condition. Her vital signs remained normal throughout her time in the
  emergency department. Ms. Mingo did not report knowledge or history of black or tarry
  stools to the medical care providers at that encounter.
          On 2/3/2015, Ms. Mingo saw Dr. Gholson as a follow up from her ER visit the
  previous evening. Based on labs drawn on 2/3/2015, she had a decreased hemoglobin
  of 8.2 [12.0-16.0] and a decreased hematocrit of 27.8 [36-48]. Notably, Dr. Gholson
  decreased her aspirin dose and referred her to gastroenterologist, Dr. Stephen Keith,
  for anemia and hemoccult positive stool. It was appropriate for Ms. Mingo to remain on
  Xarelto at this time to treat her existing DVT and to prevent recurrent DVT.

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          Dr. Keith testified that Ms. Mingo was referred to him mainly because she was
  hemoccult positive. I agree with Dr. Keith’s definition of “hemoccult positive,” which he
  defined as a stool test used to detect occult blood and, when positive, is “an indication
  of blood loss in the gut.” Ms. Mingo was evaluated by Dr. Keith’s Nurse Practitioner,
  Mary Thornton on 2/10/2015. The hemoccult positive stools were again noted. Ms.
  Mingo also reported decreased exercise tolerance and shortness of breath on exertion,
  signs and symptoms of anemia and gastrointestinal bleed. Ms. Mingo reported oral iron,
  aspirin (325 mg) and Xarelto (15 mg) as current medications. NP Thornton scheduled a
  colonoscopy an EGD, in addition to an “anemia work up.” She documented uncontrolled
  chronic anemia, then she counseled Ms. Mingo on diet, weight loss and smoking
  cessation. Notably, since starting Xarelto on 1/23/2015, no health care provider had
  recommended that she stop taking Xarelto. Its usage was appropriate, given her need
  for anticoagulation, since her recent DVT within 6 days of completing a prophylactic
  course of Lovenox.
         On 2/12/2015, a CBC was drawn at Dr. Gholson’s office. The results, which
  were obtained the next day, showed a hemoglobin of 5.8 g/dL. Dr. Gholson’s office
  called Ms. Mingo around 9:00 AM on 2/13/2015 with her lab results and advised her to
  report to the emergency room as soon as possible due to her anemia. Ms. Mingo
  presented to the Emergency Department at Southwest Mississippi Regional Medical
  Center at 9:37 AM with no signs of distress. Ms. Mingo was seen by the emergency
  physician, Dr. David Casey, who reported that Ms. Mingo “reports black stools since Jan
  9th and says she was put on Xarelto around the 23rd.” That same afternoon, Ms. Mingo
  was diagnosed with an acute upper GI bleed.
         Dr. Stephen Keith performed an EGD that revealed a small, 6 mm oozing ulcer in
  the fundus of the stomach. It was treated with argon plasma coagulation (APC). In this
  procedure, a catheter is used that can sense tissue, which is moist, like blood. The
  catheter then directs argon gas to it, which in turn ignites to cauterize the lesion. The
  argon gas is directed as an arc, making it possible to access more difficult regions of the
  gastrointestinal organs. Dr. Keith next placed a clip on the ulcer as a secondary
  measure to prevent re-bleeding. No complications were noted during the procedure.
         While in the hospital, Ms. Mingo was “profoundly” anemic. The H&P indicated
  that Ms. Mingo had noticed black stools which she assumed were due to taking iron. 4
  units of packed red blood cells and 2 units of fresh frozen plasma. Records on
  2/14/2015, the day after the procedure and transfusion, indicate that the GI bleed had
  resolved and her anemia was stable. Progress notes on 2/14/2015 included a plan for
  her to resume Xarelto and add a proton pump inhibitor and indicated that a lengthy
  discussion was held to address Ms. Mingo’s concerns related to the risks of Xarelto. Ms.
  Mingo was discharged home on 2/15/2015, and because she was “worried about
  rebleeding on Xarelto,” was instructed to start aspirin 325 mg on 2/18/2015.
        Dr. Keith indicated in his records that peptic ulcer disease was the underlying
  cause of Ms. Mingo’s GI bleed. He notes on 2/19/2015 that Ms. Mingo’s “chronic

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  anemia due to peptic ulcer disease” had improved. He performed a repeat EGD on
  5/4/2015, which showed her ulcer had healed. Findings also included a 2 cm area of
  “intense erythema of the distal gastric body,” “subtle nodularity of the antrum” and a
  “small hiatal hernia.” Ms. Mingo had no further complications from the bleeding incident
  on 2/13/2015; however, she continues to be followed closely by various doctors that
  treat her preexisting medical conditions, including iron deficiency anemia.


  III.   Case-Specific Opinions


                    Ms. Mingo Was at Risk for Developing DVT
         Ms. Mingo was at a high risk for developing deep-vein thrombosis (DVT)
  following the total hip replacement surgery on January 6, 2015. Venous
  thromboembolism (VTE) is a condition that occurs when a blood clot forms in a vein.
  VTE includes DVT and pulmonary embolism (PE), which may be potentially fatal. DVT
  is a common side effect complication of lower extremity surgery, even in patients
  without significant comorbidities. After surgery, Ms. Mingo received Lovenox
  (enoxaparin), an anticoagulant known to help prevent the formation of blood clots,
  specifically in post-surgical DVT.
         Several preexisting conditions increased her risk for developing a blood clot after
  hip replacement surgery. These included HTN, DM2, smoking (for > 40 years),
  neuropathy, obesity, sedentary lifestyle and limited mobility secondary to hip
  replacement surgery, which was her greatest risk factor. Ms. Mingo did not develop a
  DVT while taking Lovenox. However, it developed shortly thereafter while she was on
  aspirin (325 mg). Anticoagulation was necessary as a prophylactic measure.


                      Xarelto Treated Ms. Mingo’s Blood Clot
         Anticoagulants have become the mainstay for treatment of VTE and for the
  prevention of recurrent VTE. On 1/23/2015, Xarelto (rivaroxaban), 15 mg twice daily for
  21 days, was prescribed for the treatment of her DVT (and prevention of recurrent
  DVT). Rivaroxaban is a novel oral anticoagulant (NOAC) that has been approved for
  use in the treatment of VTE at a dose of 15 mg twice daily for 21 days, followed by 20
  mg once daily. It has been approved by the FDA for treatment of VTE since November
  2012.
          The prescription for Xarelto was filled on 1/23/2015. Records indicate the drug
  was taken as directed for 20 days. It is assumed that her last dose of Xarelto was taken
  on 2/13/2015. An ultrasound on 2/13/2015 showed no evidence of DVT. Xarelto
  effectively treated Ms. Mingo’s acute DVT, and Ms. Mingo did not experience another
  blood clot while taking Xarelto.


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         I have evaluated and treated countless clinic patients who take Xarelto or other
  NOAC drugs or warfarin for the treatment of DVT and prevention of recurrent DVT. In
  my years of clinical experience, I have diagnosed hundreds of patients with “occult”
  bleeding, just as Ms. Mingo’s bleed was described, where the patient presented without
  knowledge of the bleed. There has not been a noticeable difference in the presentation
  of patients who have or have not been exposed to Xarelto. I have not noticed any trend
  in “occult” bleeds being diagnosed more frequently among patients taking Xarelto, or
  other NOACs. I have diagnosed occult bleeds in patients that were taking aspirin
  and/or non-steroidals, and I have treated many patients with and without a history of
  NOAC use.
                      Ms. Mingo Had Anemia Before Taking Xarelto
         Ms. Mingo had a documented history in 2013 of anemia and exhibited signs of
  anemia prior to taking Xarelto. She was diagnosed with iron-deficiency anemia, a
  condition that is not common in a post-menopausal woman who no longer has menses.
         “Melena” is the presence of dark stools which are characteristically black in color
  with or without a maroon tinge that is seen in acute GI bleeding. It takes only 50 cc of
  blood in the stomach to make stools turn black. A change in the color of stools similar
  to melena can be seen with the usage of iron or bismuth, as is contained in Pepto-
  Bismol. According to pharmacy records, Ms. Mingo was taking prescription ferrous
  sulfate (352 mg) as early as December 20, 2014.
         Further, Ms. Mingo reported to the ER physician on 2/13/2015 that she had
  melena beginning on 1/9/2015, which corresponds with the date she was discharged
  from Southwest Mississippi Regional Medical Center, after having received 3 days of
  Lovenox injections and baby aspirin. Ms. Mingo confirmed compliance with 7-day usage
  of Lovenox post-discharge. Ms. Mingo’s medical records do not support the use of an
  anticoagulant from January 16, 2015 through January 22, 2015; however, she
  continued to use aspirin during this time. Labs during and after her hospital stay were
  reported as follows:
                       DATE                   Hct                  Hgb

                1/7/2015, 4:14        30.9L                10.2L
                                      [34.4 – 46.4]        [11.6-15.2]

                1/8/2015, 4:05        28.7L                9.7L

                1/9/2015, 2:50        26.4L                8.7L

                1/22/2015, 19:05      35.2                 11.2L
                                      [40.0-54.0].         [14.0-18.0]




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         The use of iron before and after the total hip replacement surgery could easily
  have masked additional signs of blood loss. It is possible that Ms. Mingo had occult
  bleeding during this time.


                              Management of GI Bleeds
         It is essential to determine the severity of GI bleeding in order to correctly choose
  the right form of management. A good history from the patient and/or family is essential
  in order to try to determine if the bleeding is from the upper or lower intestinal tract.
  Melena usually signifies an upper GI bleed, whereas maroon or bright red blood per
  rectum usually suggests a lower intestinal source. One must quickly determine whether
  the patient is stable and ascertain the severity of the bleeding by checking the vital
  signs and testing for hemoccult positive stool.
          GI bleeding can be characterized as (1) minor, (2) major and (3) massive. When
  assessing minor bleeding, vital signs are usually within normal range, there is no
  obvious paleness of the skin or conjunctiva of eyes, and there is no orthostatic
  hypotension. This is considered a minor bleed which can be handled in a non-emergent
  fashion. Non-emergent endoscopy may be scheduled along with obtaining blood to
  assess the level of anemia. Outpatient therapy is usually a generally accepted course
  of action.
          If orthostatic hypotension is present along with tachycardia, a moderate amount
  of blood loss may be assumed, suggesting that greater than 10-20 percent of a patient’s
  blood volume has been lost. These patients will usually need more attention to
  management within a shorter window of time, starting with hospitalization and
  stabilization with blood products prior to endoscopy.
         In the setting of life threatening GI bleeding, the patient is clinically in shock and
  unstable in all clinical parameters. Immediate hospitalization in an intensive care unit is
  necessary to save this patient’s life. Large bore IVs are established for resuscitation
  concomitant with consultation with a general surgeon along with an interventional
  radiologist for therapeutic embolization, if needed, is the standard of care. Blood
  products are given including FFP in order to reverse anticoagulation, although FFP is
  not given as a reversal agent to Xarelto.
         Proton pump inhibitors (PPIs) are also given immediately in patients who have
  moderate to massive GI bleeding. Octreotide, or somatostatin analogue, is typically
  given in this setting of severe life threatening GI bleeding in order to lower the
  splanchnic venous blood pressure, which may secondarily decrease or halt massive
  bleeding.
         In the case of Ms. Mingo, she would be categorized as a moderate GI bleed due
  to her clinical presentation. Dr. Stephen Keith, Ms. Mingo’s treating gastroenterologist,


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   appropriately assessed the patient, controlled and managed her bleeding, and
   performed therapy that was consistent with the established medical standard of care.


                          Causes of Gastric Ulcers and GI Bleeds
          Approximately three-fourths of all patients that present to the emergency room
   with GI bleeding have an upper source. The most common causes of upper GI bleeding
   are peptic ulcers, varices and Mallory Weiss Syndrome, which is a tear of the mucosal
   membrane in the lower part of the esophagus or upper part of the stomach.
          Peptic ulcers account for approximately 95% of GI bleeding. Peptic ulcers are
   commonly associated with the bacteria, Helicobacter pylori (H. pylori), the use of non-
   steroidal anti-inflammatory (NSAIDs) and/or stress. Other forms of peptic ulcer disease
   are less common. These are such as Zollinger-Ellison syndrome or severe gastric acid
   hypersecretion, and mucosal lesions induced by radiation or chemotherapy treatments.
          The negative impact of aspirin and other NSAIDs on the gastrointestinal tract is
   well known and well-studied. NSAIDs have been associated with many gastrointestinal
   problems, ranging from mild to severe dyspeptic symptoms, the development of gastric
   or duodenal ulceration, hemorrhage or perforation, and other events which may lead to
   hospitalization or death. NSAIDs may have adverse effects in all parts of the
   gastrointestinal tract, not only the stomach or duodenum.
           The gastrointestinal side effects associated with the use of NSAIDs has been a
   popularly studied subject because of their versatile effectiveness as analgesics and
   anti-inflammatory agents. Aspirin and many other non-steroidals, such as ibuprofen and
   naproxen, are carboxylic acids that are not ionized at the acidic pH found in the gastric
   lumen, and thus, can be absorbed across the gastric mucosa. Aspirin is also used in
   low doses as an anti-platelet agent.
          It is well-established that chronic exposure to non-steroidal agents without the
   use of gastro-protective medications may cause peptic ulcer disease, which is a source
   for major GI bleeding. Gastric ulcers can be caused by H. pylori, gastritis, medications
   such as aspirin and other NSAIDs, smoking and stress.
          The pathogenesis of symptomatic peptic ulcer disease caused by repeated
   exposure to NSAIDs is mainly a consequence of systemic (post-absorptive) inhibition of
   gastrointestinal mucosal cyclo-oxygenase (COX) activity. Even intravenous or
   intramuscular administration of aspirin or NSAIDs can cause gastric or duodenal ulcers.
   Endoscopic studies have shown a prevalence rate of 14%–25% of gastric and duodenal
   ulcers in NSAID users. Endoscopic studies tend to show more gastric than duodenal
   ulcers associated with NSAID use. There is a poor correlation between symptoms and
   endoscopically proved lesions; up to 50% of endoscopically confirmed ulcers that are
   associated with NSAIDs are asymptomatic.


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          The risk factors for NSAID-related gastrointestinal toxicity include: being over 65
   years of age; a previous history of peptic ulceration; smoking; underlying respiratory or
   cardiovascular disease; and concomitant drug use, particularly corticosteroids, aspirin,
   and anticoagulants. Perioperative use is also a risk factor. Higher doses of NSAIDs are
   associated with increased risk, as is the use of more than one type of NSAID. There is
   also an increased risk of gastrointestinal complications with the relatively prevalent use
   of low dose aspirin taken prophylactically.
           It has been estimated that the individual risk of hospitalization with
   gastrointestinal complications of NSAIDs is between 1/50 and 1/150 patient years. The
   risk of an upper gastrointestinal bleed is between 1/100 and 1/500 patient years; the risk
   of a gastrointestinal related death is between 1/1000 and 1/5000 patient years.
          The risk of serious ulcer complications in patients on NSAIDs has been
   calculated in various studies, the relative risk (RR) for a serious gastrointestinal event
   overall being reported as 2.74 in a large meta-analysis, upper gastrointestinal bleeding
   RR 3.09, perforation RR 5.93, and ulcer related death RR 7.62.
          Xarelto does not cause ulcers or gastrointestinal bleeds. There is no known
   mechanism by which Xarelto can cause gastric ulcers. Unlike the studies discussed
   above that provide scientific support for damage to the gastric and duodenal mucosa,
   there is no evidence in the medical literature that Xarelto causes damage to the
   mucosa.




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          Gastric ulcers, or any form of mucosal injury, may bleed due to exposure to
   aspirin, anticoagulants, or nonsteroidal agents. There is also a broad category of other
   agents that can injure the gastric mucosa that can cause the bleeding. A few of these
   include smoking, alcohol and steroids. Xarelto and other anticoagulants precipitate
   bleeding in these lesions of the GI tract.


               Xarelto Did Not Create Ms. Mingo’s Ulcer or Cause Her Bleed
          I agree with Dr. Keith’s assessment that the etiology of Ms. Mingo’s GI bleed was
   caused by underlying peptic ulcer disease. Ms. Mingo had an upper GI bleed, the
   source of which was gradually unmasked by her concomitant use of aspirin and
   anticoagulant. I further agree with Dr. Keith’s testimony that Ms. Mingo’s clinical course
   would not have been any different had she taken a different anticoagulant. In fact,
   during the time that Ms. Mingo was experiencing signs and symptoms of anemia while
   on Xarelto, no medical care provider suggested that she discontinue Xarelto or take a
   different NOAC. Even after the bleed, she was offered continuation of therapy on
   Xarelto. In this case, Ms. Mingo’s bleed was appropriately controlled and she has not
   suffered any long term sequelae because of the bleeding.
           According to the EGD performed on 2/13/2015, Ms. Mingo had a small gastric
   ulcer located in the fundus (top part) of her stomach, in the area of the hiatal hernia.
   This is not a typical location for a gastric ulcer, as the majority of ulcers are found more
   distally towards the bottom of the stomach. The ulcer was cratered, or had depth, which
   suggests chronicity. The exact age of the ulcer is not determined. The ulcer was
   “oozing,” which refers to a slow trickle of blood, from a blood vessel in the ulcer base.
   The inspection of the remaining portion of Ms. Mingo’s stomach was completely normal
   and had no evidence of additional ulcers or bleeding. The first and second portion of the
   small intestine, the duodenum, was inspected and it also had no active bleeding or
   ulcers. No additional sites of injury were noted. The operative note did not detail the
   presence of a large volume of blood in the GI tract.
           Two methods of treatment were used to control the bleeding of Ms. Mingo’s
   gastric ulcer. In this particular setting, two different types of treatment were necessary to
   assure hemostasis in the face of need to re-expose the patient to an anticoagulant.
   These included (1) argon plasma coagulation (APC), applying heat directly to the vessel
   to clot it off and (2) a secondary method to assure no additional bleeding, performed by
   placement of a clip which clamps off the blood vessel. The chances of re-bleeding are
   significantly lowered when this combination of intervention is used. Re-exposure to
   anticoagulants was necessary because Ms. Mingo was at risk for recurrent DVT.
          There was no subsequent bleeding involved due to the appropriate treatment of
   the gastric ulcer which included APC and clipping/clamping and the parallel use of PPI,
   which protects the gastric mucosa from further injury from aspirin or any other anti-
   platelet agent. Ms. Mingo’s ulcer was adequately treated to achieve complete

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   hemostasis when she was discharged from the hospital on 2/15/2015. Ms. Mingo
   subsequently had a second endoscopy in May 2015, which ultimately assured that the
   ulcer had healed. Ms. Mingo’s gastroenterologist recommended that she re-initiate
   anticoagulation, but Ms. Mingo was worried about re-bleeding and refused despite her
   increased risk for a subsequent thrombotic event due to risk factors such as recent
   orthopedic surgery, obesity, and smoking. Medical literature strongly supports the re-
   introduction of anticoagulants after control of GI bleeding.
            To withhold a NOAC under these circumstances is not supported by medical
   research. The standard of care suggests that the resumption of anticoagulation after
   endoscopic hemostasis is safe and predicts better outcome. Because of the shorter
   half-life, the use of Xarelto would probably have been more beneficial to the patient, and
   possibly easier to control. Resuming anticoagulation therapy following control of a GI
   bleed reduces the risk of subsequent bleeding. Studies show the overall mortality of
   bleeding is lower in all patients.
          Dr. Keith’s treatment of Ms. Mingo’s ulcer was appropriate, and his treatment
   would not have changed had he known the concentration of Xarelto in her blood.
   Endoscopic therapy is based on the findings during the time of the examination and,
   therefore, is not significantly altered because of exposure to anticoagulants. The choice
   of therapy does not depend on the concentration of anticoagulation in the blood.
   Therefore, as more time passes, the risk of bleeding from an ulcer decreases as the
   NOAC is metabolized.
          As discussed above in my report, gastric ulcers have many known causes. Ms.
   Mingo’s medical history included several potential causes for her gastric ulcer. She had
   been taking a baby aspirin consistently since at least 2008, and started the higher dose
   of aspirin 325 mg after hip replacement surgery on 1/9/2015 until the time of her GI
   bleed on 2/13/2015. Her medical records also indicate the chronic use of non-steroidals
   such as Celebrex, meloxicam, and ibuprofen for the treatment of osteoarthritis, from
   2013 until mid-2014, including at least two corticosteroid injections. Per PCP record of
   6/4/2014, Ms. Mingo had run out of hydrocodone and Celebrex, and Dr. Gholson
   discontinued Celebrex and initiated Meloxicam, a COX-2 inhibitor. She further
   cautioned Ms. Mingo regarding the excessive use of non-steroidal medications. Chronic
   and frequent use of such drugs helped Ms. Mingo’s mobility and arthritis prior to hip
   replacement surgery on 1/6/202015, but increased her risk for bleeding, as did her
   smoking.
          Gastric ulcers can also develop in the absence of use of these medications.
   Often, the cause of a patient’s gastric ulcer is may not be clear. Any of these
   medications alone, or any combination of them, may have caused Ms. Mingo’s gastric
   ulcer. Such evidence suggests that, more likely than not, Ms. Mingo’s ulcer was
   present prior to Xarelto use.



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   I reserve the right to respond to the expert witness testimony of plaintiff’s witnesses and
   any other evidence to be presented at trial, and to supplement this report should
   additional materials become available to me.




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                          EXHIBIT A




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        25.    Rapid Responses to Abraham (2015)
               Abraham NS, Shah N, Sangaralingham L. Re: Comparative risk of astrointestinal
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               Patel JP, Couchrnan L, Chitongo PB, Flanagan RJ, Arya R. New oral
               anticoagulants dosing and monitoring. BMJ. 2015 May 8; http://www.bmj
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        27.    Rapid Responses to Chang (2015)
               Bhanwra S, Ahluwalia K. How safe are the newer "safe" anticoagulants? Risk of
               gastrointestinal bleeding associated with oral anticoagulants: population based
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                                   ARTICLE/DOCUMENT
        42.    UpToDate: numerous searches of related topics.
        43.    Henry Rinder Expert Report (Mingo)
        44.    Plaintiff Dora Mingo Medical Records - All medical records as of 12/15/2016
        45.    Renie Jordan, MD 08/12/2016 Deposition transcript and exhibits
        46.    Stephen Keith, MD 08/11/2016 Deposition transcript and exhibits
        47.    Dora Mingo 06/20/2016 Deposition transcript and exhibits
        48.    January 2015 Xarelto Label




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                          EXHIBIT B




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                               CURRICULUM VITAE

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      Cell Phone:


      EDUCATION

                      1988 – 1991 Fellowship – Gastroenterology
                       University of Texas Medical Branch, Galveston, Texas

                      1983 – 1985 Residency – Internal Medicine
                       University of Texas Medical Branch, Galveston, Texas

                      1982 – 1983 Internship – Internal Medicine
                       University of Texas Medical Branch, Galveston, Texas

                      1978 – 1982 Medical Degree with Honors
                      Neuroanatomy, Obstetrics and Gynecology
                       Meharry Medical College, Nashville, Tennessee

                      1975 – 1978 B.S. Chemistry
                      Academic Pre Medical Scholarship
                       Millsaps College, Jackson, Mississippi

                      1975         Valedictorian
                       Mt. Olive High School, Mt. Olive, Mississippi


      WORK EXPERIENCE

                      July 1997 – Present
                      Gastroenterologist/Senior Partner
                      Gastrointestinal Associates, P.A.
                      1421 N. State Street, Suite 203
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                    July 1991 – 1997
                    Assistant Professor of Medicine, Division of Gastroenterology
                    Department of Internal Medicine
                    University of Texas Medical Branch
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      CREDENTIALS

                    BOARD CERTIFICATION:
                    1995 – 2005
                    Recertified 2006 – 2023
                    ABIM - Gastroenterology
                    #104380

                    1994 – 2004
                    ABIM – Internal Medicine
                    #104380

                    MEDICAL LICENSURE:
                    State of Mississippi
                    #14517

                    State of Texas
                    #G5524


      FACULTY APPOINTMENTS

                    February 2016 – February 2018
                    Adjunct Assistant Professor, Non-Tenure Track/Series III
                    Department of Internal Medicine
                    Meharry Medical College, Nashville, Tennessee

                    July 1997 – 2010
                    Clinical Assistant Professor of Medicine, School of Medicine, University
                    of Mississippi Medical Center, Jackson, Mississippi

                    February 1993 – July 1997
                    Interim Director of Gastrointestinal Endoscopy, Department of Internal
                    Medicine, University of Texas Medical Branch, Galveston, Texas

                    July 1991 – July 1997
                    Co-Director, Gastrointestinal Motility Unit, University of Texas Medical
                    Branch, Galveston, Texas



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                    July 1991 – July 1997
                    Assistant Professor of Medicine, Department of Internal Medicine,
                    Division of Gastroenterology, University of Texas Medical Branch,
                    Galveston, Texas
                    July 1988 – July 1991
                    Assistant Clinical Instructor, Department of Internal Medicine, University
                    of Texas Medical Branch

                    July 1988 – July 1991
                    Postgraduate Fellow, Division of Gastroenterology, University of Texas
                    Medical Branch, Galveston, Texas

                    July 1985 – July 1988
                    Liaison Physician for University of Texas Medical Branch and Texas
                    Department of Corrections, Galveston, Texas

                    July 1985 – July 1988
                    Director of Preventive Medicine Program, University of Texas Medical
                    Branch, Galveston, Texas

                    1986 – 1988
                    Director of AIDS Program, Texas Department of Corrections Hospital,
                    University of Texas Medical Branch, Galveston, Texas

                    1975
                    Chemistry Lab Instructor, Millsaps College, Jackson, Mississippi


      HOSPITAL AFFILIATIONS

                    1997 – Present         Gastrointestinal Associates Endoscopy Center:
                                           Jackson, Madison and Vicksburg, MS
                    1997 – Present         Merit Health River Oaks, Flowood, MS
                    1997 – Present         Merit Health Woman’s, Flowood, MS
                    1997 – Present         Mississippi Baptist Medical Center, Jackson, MS
                    1997 – Present         St. Dominic/Jackson Memorial Hospital, Jackson, MS
                    1997 – Present         Hardy Wilson Memorial Hospital, Forest, MS
                    2006 – Present         Regency Hospital of Jackson, Jackson, MS



      PAST COMMITTEE RESPONSIBILITIES

                    1996             American College of Gastroenterology, Ad Hoc Committee
                                     Practice Affairs



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                    1995        CPI – Intravenous Conscious Sedation Committee
                    1995 – 1997 Quality Assurance Committee – Department of Internal
                                Medicine, Gastroenterology Representative
                    1994 – 1997 UTMB/TDCJ Utilization Review Committee – Gastroenterology
                    1994 – 1997 Alliance in Internal Medicine, Faculty Mentor
                    1994 – 1997 Quality of Care Subcommittee for Physician Health
                                and Rehabilitation
                    1995 – 1997 Credentials Committee, University of Texas Medical
                                Branch
                    1993 – 1995 Student Affairs Committee, University of Texas
                                Medical Branch
                    1987 – 1988 Governor’s Criminal Task Force: Medical Subcommittee,
                                State of Texas
                    1986 – 1988 Texas Department of Health Commissioner’s Task Force
                                on AIDS: Member, Inter Agency Panel


      PAST TEACHING RESPONSIBILITES: University of Texas Medical Branch

                    Assistant Professor of Medicine –
                    Department of Internal Medicine

                    Family Medicine Lecturer
                    Pathophysiology of Peptic Ulcer Disease

                    Housestaff, Gastroenterology Consultation and Teaching Rounds

                    Internal Medicine Ward Attending Physician


      PRESENT COMMITTEE AFFILIATIONS

                    Women’s Fund of Jackson, Board Member 2016-2019

                    Mississippi Gastrointestinal Society – President 2013-2015

                    Blue Cross Blue Shield Pharmacy and Therapeutics Committee
                    State of Mississippi, 1997 – Present

                    Boy Scouts of America – Executive Board
                    Andrew Jackson Council, 2007 – Present

                    St. Andrews Episcopal School
                    Board of Trustees, 2007 – Present




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      PAST COMMITTEE AFFILIATIONS

                    Community Fund of Greater Jackson, 2006 - 2008
                    Millsaps College, Board of Trustees, 2007 - 2011

      PROFESSIONAL AND SCIENTIFIC SOCIETIES

                    Mary Susan Moore Medical Society – Treasurer, 1995 – 1997

                    Association of Black Women Physicians – Treasurer, 1992 – 1995
                    Houston, Texas

                    Leonidias Berry Society for Digestive Diseases, 1989 – 2009

                    American Women’s Medical Association, 1990 – 1995

                    Texas Society of Gastrointestinal Endoscopy, 1990 – Present

                    American College of Gastroenterology, 1989 – Present

                    American Gastroenterological Association, 1988 – Present
                    AGA Fellow 2/1/2015

                    University of Texas Medical Branch Faculty Women’s Caucus, 1989 – 1997

                    Texas Medical Foundation, 1989 – 1997

                    National Medical Association, 1987 – Present

                    Galveston County Medical Society, 1983 – 1997

                    Texas Medical Association, 1983 – 2009

                    American Medical Association, 1983 – Present

                    American College of Physicians, 1982 – Present

                    Mississippi State Medical Association, 1997 – Present

                    Mississippi GI Society, 1997 – Present, President 2013-2015


      HONORS AND AWARDS

                    2016          Diabetes Foundation of MS Woman of Excellence




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                    2014           Mississippi Business Journal “Health Care Heroes”

                    2013           Jackson Free Press “Chicks We Love”

                    2009           Silver Beaver Award, Andrew Jackson Council, Boy Scouts of
                                   America

                    2001           Jim Livesay Award for Outstanding Alumni – Millsaps College

                    1998           Mississippi Business Journal’s “Top 40 Under 40” Award

                    1991           The North American Conference of Gastroenterology Fellows:
                                   Second Annual Meeting; 1st Place Presenter

                    1991            James W. McLaughlin Fellowship in 1990 Infectious Diseases
                                   and Immunity, “Pathogenesis of Experimental Cholera: Effects of
                                   Antisecretory and Antimotility Pharmacologic Agents”

                    1985           Outstanding Young Women of America 1984

                    1977           Neuroanatomy, Obstetrics-Gynecology, Honors, Meharry Medical
                                   College


      PREVIOUS RESEARCH PROJECTS: University of Texas Medical Branch

                    NSAID Induced Gastric Ulcers

                    Diabetic Gastroparesis

                    Erosive Esophagitis

                    NSAID / Osteoarthritis

                    H Pylori Peptic Ulcer Disease

                    Irritable Bowel / Constipation

                    Motility Disorders in Immune Compromised Patients

                    Non-Ulcer Dyspepsia

                    AIDS Related Diarrhea

                    Ulcerative Colitis




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      PREVIOUS RESEARCH PROJECTS: Gastrointestinal Associates, PA

                     Tarheel Clinical Research – 2012 – 2013

                     Sarah Cannon Research Institute – 2002 – 2012

                     Mississippi Center for Clinical Research – 1997 – 2002

                     Mississippi Surgical Center – 1997 – 2002

      2016

      A Phase 2b, Randomized, Double-blind, Double-dummy, Placebo-controlled, Parallel group,
      Dose-range-finding Study of Two Delayed Release Formulations of XXX Administered Orally
      for 12 Weeks to Patients with Irritable Bowel Syndrome with Constipation

      2015

      A randomized, 12-week, double-blind, placebo-controlled study of the safety and efficacy of
      XXX in patients with Irritable Bowel Syndrome with Constipation (IBS-C)

      A Double-Blind, Placebo-Controlled, Parallel-Group, Multicenter, Multiregional, One Year
      Study to Assess the Efficacy and Safety of XXX for Induction of Clinical Remission with
      Endoscopic Response at 16 Weeks followed by Clinical and Endoscopic Remission at 52 Weeks
      in Subjects with Active Moderate Crohn’s Disease

      A Phase 2, randomized, placebo-controlled, multicenter study to investigate the efficacy and
      safety of XXX for treatment of subjects with active ulcerative colitis

      2014

      Sample collection study to evaluate the DNA markers in subjects with Inflammatory Bowel
      Disease (IBD)

      A phase 3, randomized, double-blind, placebo-controlled, parallel-group trial of xxxx
      administered orally for 12 weeks to patients with Chronic Idiopathic Constipation

      A phase 2, randomized, double-blind study of the efficacy and safety of xxxx versus xxxx in
      adult subjects with liver fibrosis due to Non-alcoholic Steatohepatitis (NASH)

      A phase 2, multi-center, multi-national, randomized, double-blind, placebo-controlled parallel-
      group clinical trial to evaluate the efficacy and safety of xxxx in adult subjects with Eosinophilic
      Esophagitis




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      A multicenter, randomized, double-blind, placebo-controlled, parallel-group clinical study to
      evaluate the efficacy and safety of xxxx in women with symptoms associated with Diabetic
      Gastroparesis

      A randomized, 12-week, double-blind, placebo-controlled study to assess the safety and efficacy
      of xxxx in patients with chronic idiopathic constipation

      A multi-center, randomized, double-blind study to compare the efficacy and safety of xxxx
      versus xxxx in subjects with Clostridium difficile-associated diarrhea (CDAD)


      2013

      A phase 2b, randomized, double blind, placebo controlled dose-ranging study of the and safety
      of xxxx treatment in symptomatic Celiac Disease patients maintained on a gluten-free diet

      A randomized, double blind, double dummy, placebo controlled, parallel group, multicenter
      study to evaluate the clinical equivalence of xxxx capsules with xxxx capsules in the treatment
      of chronic idiopathic constipation

      A randomized, open label, multicenter study to evaluate the safety and antiviral activity of the
      combination of xxxx/xxxx/xxxx and xxxx with and without xxxx in treatment experienced
      subjects with genotype 1b chronic hepatitis C virus infection

      An open label study to evaluate the safety, antiviral activity and pharmacokinetics of direct
      acting antiviral agent treatment in combination with xxxx and xxxx in chronic hepatitis C virus
      infected subjects who have experienced virologic failure in a previous Abbott DAA
      combination study

      A phase III, open label trial of xxxx in combination with xxxx and xxxx for HCV genotype 1
      infected subjects who participated in the placebo group of a Phase II/III xxxx study, or who
      received short term direct acting antiviral treatment for hepatitis C infection in a selected XXX
      sponsored Phase I study

      2012

      A Safety, Tolerance and Efficacy Evaluation of 3 Different Bowel Cleansing Treatments in
      Adult Subjects, Including the Elderly and Subjects with Hepatic or Renal Insufficiency

      A Study to Assess Repeat Treatment Efficacy and Safety of xxxx in Subjects with Irritable
      Bowel Syndrome with Diarrhea (IBS-D)

      A Randomized, Double-blind, Double dummy, Placebo-controlled, Parallel-group, Multicenter
      Study to Evaluate the Clinical Equivalence of xxxx Capsules With xxxx Capsules in the
      Treatment of Chronic Idiopathic Constipation


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      A Randomized, Double-Blind, Placebo-Controlled Study to Evaluate the Efficacy and Safety
      of xxxx Extended-release Tablets as Add-on Therapy in Patients with Active, Mild or Moderate
      Ulcerative Colitis not Adequately Controlled on a Background Oral 5-ASA Regimen

      A Phase 3b, Randomized, Double-Blind, Placebo-Controlled, Parallel-Group Trial of xxxx
      Administered Orally for 12 Weeks to Patients With Chronic Constipation and Prominent
      Abdominal Bloating at Baseline

      A Phase II double-blind, randomized, comparator-controlled study of the safety and efficacy of
      xxxx in subjects with left-sided ulcerative colitis

      A Phase 2, Randomized, Double-blind, Placebo-controlled Study to Evaluate the Safety and
      Efficacy of xxxx Administered to Patients with Diabetic Gastroparesis

      A Phase 2, Multi-Center, Randomized, Double Blind, Placebo-Controlled, Multiple-Dose Study
      to Determine the Safety and Efficacy of Orally Administered xxxx in Subjects with Diarrhea-
      Predominant Irritable Bowel Syndrome (IBS-D)

      A Randomized, Double-blind, Placebo-controlled, Phase 3 Study to Evaluate the Efficacy,
      Safety, and Tolerability of xxxx in the Treatment of Patients With Diarrhea-Predominant
      Irritable Bowel Syndrome

      An Open-Label Study to Evaluate the Safety, Antiviral Activity and Pharmacokinetics of
      Direct-Acting Antiviral Agent (DAA) Treatment in Combination with xxxx and xxxx in
      Chronic Hepatitis C Virus (HCV) Infected Subjects Who Have Experienced Virologic Failure
      in a xxxx DAA Combination Study

      A Randomized, Open-Label, Multicenter Study to Evaluate the Safety and Antiviral Activity of
      the Combination of xxxx with xxxx, xxxx and xxxx With and Without xxxx in Treatment-
      Experienced Subjects with Genotype 1 Chronic Hepatitis C Virus (HCV) Infection

      2011

      A Long Term Follow-up Registry for Subjects Who Achieve a Sustained Virologic Response to
      Treatment in xxxx Trials with Subjects with Chronic Hepatitis C Infection (SVR Registry)

      A Long Term Follow-up Registry Study of Subjects Who Did Not Achieve Sustained Virologic
      Response in xxxx Trials in Subjects with Chronic Hepatitis C Infection (Sequence Registry)

      A Randomized, Double-Blind, Placebo Controlled Study to Evaluate the Efficacy and Safety of
      Different Doses of xxxx for the Treatment of Celiac Disease

      A Phase III, Open-Label Trial of xxxx in Combination with xxxx and xxxx for HCV Genotype-


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      1 Infected Subjects Who Participated in the Placebo Group of Phase II/III xxxx Study (xxxx), or
      Who Received Short-Term (up to 14 days) Direct-Acting Antiviral Treatment for Hepatitis C
      Infection in a Selected xxxx Phase 1 Study

      A Randomized, Open Label, Multi-center Study to Evaluate the Antiviral Activity, Safety and
      Pharmacokinetics of xxxx with xxxx in Combination with xxxx and/or xxxx with and without
      xxxx for 8, 12, or 24 Weeks in Treatment Naïve and Null Responder Subjects with Genotype 1
      Chronic Hepatitis C Virus Infection

      A Phase III, Open-Label Study of Once Daily xxxx for 24 Weeks in Combination with xxxx
      and xxxx in Patients with Genotype I Chronic Hepatitis C Infection Who Failed a Prior xxxx
      Treatment

      A Double-Blind, Randomized, Placebo Controlled, Parallel Group, Multi-Site Study to Evaluate
      the Clinical Equivalence of xxxx capsules with xxxx capsules in the Treatment of Chronic
      Idiopathic Constipation

      A Phase 2b, Randomized, Double-Blind, Placebo-Controlled Trial Evaluating Response Guided
      Therapy Using Combinations of Oral Antivirals with xxxx and xxxx in Treatment Experienced
      Subjects with Chronic Genotype 1 Hepatitis C Virus Infection

      A Phase 3, Randomized, Double-Blind, Placebo-Controlled, Parallel-Treatment Group,
      Multicenter Efficacy and Safety Study of Intra-Anal Application of xxxx as a xxxx Ointment in
      Subjects with Symptomatic Internal Hemorrhoids

      A Phase 2A, Randomized, Double-Blind, Sponsor Unblinded, Placebo-Controlled, Multiple
      Dose Study to Evaluate the Pharmacodynamics, Pharmacokinetics and Safety of xxxx in
      Patients with Active Ulcerative Colitis

      Procurement of Blood Samples from IBD, GI Controls and Healthy Volunteer Subjects for Use
      in the Development of Gastrointestinal Disease Tests

      A Phase III, randomized, double-blind, placebo-controlled study to investigate the efficacy,
      safety and tolerability of xxxx vs. placebo as part of a treatment regimen including xxxx and
      xxxx in treatment-naïve, genotype 1 hepatitis C-infected subjects

      A Phase III, randomized, double-blind, placebo-controlled study to investigate the efficacy,
      safety and tolerability of xxxx vs. placebo as part of a treatment regimen including xxxx and
      xxxx in hepatitis C, genotype 1 infected subjects who relapsed after previous interferon-based
      therapy

      2010

      A Randomised, Double-Blind, Placebo-Controlled Study to Investigate the Efficacy and Safety
      of xxxx in the Treatment of Subjects with Moderately to Severely Active Crohn’s Disease




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      A Phase 2b, Randomized, Double-Blind, Placebo Controlled Trial Evaluating 16 and 24 Weeks
      of a Four-Drug Regimen and 24 Weeks of a Three-Drug Regimen of xxxx, xxxx and xxxx With
      and Without xxxx Followed by Response Guided xxxx and xxxx in Treatment Naïve Subjects
      with Chronic Genotype 1 Hepatitis C Virus Infection

      A Phase III, randomized, double-blind, placebo-controlled study to investigate the efficacy,
      safety and tolerability of xxxx vs. placebo as part of a treatment regimen including xxxx and
      xxxx in hepatitis C, genotype 1 infected subjects who relapsed after previous xxxx therapy

      A Phase III, randomized, double-blind, placebo-controlled study to investigate the efficacy,
      safety and tolerability of xxxx vs. placebo as part of a treatment regimen including xxxx and
      xxxx in treatment-naïve, genotype 1 hepatitis C-infected subjects

      A Randomised, Double-Blind, Placebo-Controlled Study to Investigate the Efficacy and Safety
      of xxxx in the Maintenance of Subjects with Crohn’s Disease

      An Open-Label Extension Study to Assess the Safety of xxxx in Subjects with Crohn’s

      A prospective 1-year virological follow-up study in subjects previously treated in a Phase IIb or
      Phase III study with a xxxx containing regimen for the treatment of hepatitis C virus (HCV)
      infection

      A Phase II double-blind, placebo-controlled study of two doses of xxxx in patients with NASH

      A Randomized, Double-blind, Placebo-controlled, Parallel group, Dose ranging, Multicenter
      Study to Evaluate the Efficacy, Safety, and Tolerability of xxxx in the Treatment of Patients
      with Irritable Bowel Syndrome with Diarrhea

      Double-blind, dose-response, randomised, placebo-controlled, parallel group, multi-centre
      phase III clinical study on the efficacy and tolerability of xxxx vs. placebo for the prevention of
      recurrence of diverticulitis

      A 12-Week, Randomized, Double-Blind,Placebo-Controlled Study of xxxx in Subjects with
      Diarrhea-Predominant Irritable Bowel Syndrome

      2009

      Antiviral effect, safety and pharmacokinetics of xxxx in hepatitis C virus genotype 1 infected
      treatment-naïve and treatment-experienced patients for 24 weeks as combination therapy with
      xxxx and xxxx (double-blinded, randomised, placebo-controlled, Phase II)

      A Multicenter, Randomized, Double-Blind, Placebo-Controlled, Parallel Group, Dose-Ranging
      Clinical Study to Evaluate the Efficacy and Safety of xxxx in Diabetic Subjects with
      Gastroparesis

      A Phase 3, Randomized, Double-blind, Placebo-controlled, Parallel-group Trial of xxxx



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      Administered Orally for 26 Weeks in Patients with Irritable Bowel Syndrome with Constipation

      Prospective Evaluation of xxxx Performance for Colorectal Cancer Screening Antiviral effect
      and safety of once daily xxxx in hepatitis C virus genotype 1 infected treatment-naïve patients
      for 12 or 24 weeks as combination therapy with xxxx and xxxx (open label, randomised, Phase
      II).

      A Phase IIb, randomized, double-blind, placebo-controlled trial to investigate the efficacy,
      tolerability, safety and pharmacokinetics, of xxxx as part of a treatment including xxxx and
      xxxx in HCV genotype 1 infected subjects who failed to respond or relapsed following at least 1
      course of xxxx and xxxx therapy.

      A multicentre, double-blind, controlled, randomized, parallel group comparison Phase IIIa
      treatment investigation on the efficacy and safety of xxxx versus placebo and active medicine in
      mild to moderate Ulcerative Proctitis

      A randomized, double blind, placebo controlled, multi-centre phase IIb dose finding study to
      assess the effect on GERD symptoms, safety and tolerability during four weeks treatment with
      xxxx in doses xx mg, xx mg, xx mg, and xx mg bid as add-on treatment to a PPI in patients
      with GERD that are partial responders to PPI treatment

      A Phase 3, Randomized, Double Blind, Placebo-Controlled, Multicenter Study to Assess the
      Efficacy and Safety of xxxx (xxxx for 2 Weeks, Followed by xxxx QD for 4 Weeks) versus
      Placebo in Subjects with Active Mild to Moderate Ulcerative Proctitis or Proctosigmoiditis

      Collection of Blood Samples for the Discovery of Biomarkers Associated with Irritable Bowel
      Syndrome

      2008

      A Phase 2B, randomized, double-blind, placebo-controlled, parallel group, dose-ranging, multi-
      centre study to investigate the efficacy, safety and tolerability of the xxxxx in patients with
      Gastroesophageal Reflux Disease (GERD) who are partial responders to proton pump inhibitor
      (PPI) treatment. (SI)

      An Open-label, Long-term Safety Study of xxxx Administered to Patients with Chronic
      Constipation or Irritable
      Bowel Syndrome with Constipation (SI)

      A Phase 3, Randomized, Double-blind, Placebo-controlled, Parallel-group Trial of xxxx
      Administered Orally for 12 Weeks Followed by a 4-Week Randomized Withdrawal Period in
      Patients with Chronic Constipation (SI)

      A Safety and Efficacy Evaluation of xxxx vs. xxxx as Bowel Cleansing Preparations in Adult
      Subjects (SI)




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      Randomised, placebo-controlled, multi-centre study to assess the efficacy and safety of xxxx in
      thrombocytopenic subjects with Hepatitis C Virus (HCV) infection who are otherwise eligible to
      initiate antiviral therapy (xxxx) xxxx (xxxx to INitate and Maintain Interferon Antiviral
      Treatment to Benefit Subjects with Hepatitis C related Liver DiseasE) (SI)

      Randomised, placebo-controlled, multi-centre study to assess the efficacy and safety of xxxx in
      thrombocytopenic subjects with Hepatitis C Virus (HCV) infection who are otherwise eligible
      to initiate antiviral therapy (xxxx) xxxx (xxxx to INitate and Maintain Interferon Antiviral
      Treatment to Benefit Subjects with Hepatitis C related Liver DiseasE) (SI)

      A Phase 3, Randomized, Double-Blind, Placebo-Controlled, Multicenter Study to Assess the
      Efficacy and Safety of xxxx in the Treatment of Subjects with Non-Constipation Irritable Bowel
      Syndrome (SI)

      A Double-Blind, Randomized, Placebo-Controlled Phase 2b Study of xxxx Dextofisopam in
      Female Outpatients with Irritable Syndrome (SI)

      Prospective observational study of early on-treatment response and sustained virological response
      in a cohort of treatment naïve HCV-infected patients treated with xxxx (SI)

      A Multi-Center, Randomized, Double-Blind, Placebo-Controlled, Dose-Ranging Study of xxxx
      in the Treatment of Patients with Moderate to Severe Ulcerative Colitis (SI)


      2007

      A Phase II, Randomized, Placebo-controlled Study of xxxx in Patients with Chronic Idiopathic
      Constipation (PI)

      A Randomized, Double-Blind, Placebo-Controlled, Multi-National Study to Determine the
      Effect of xxxx on the Pain Associated with a Chronic Anal Fissure (SI)

      A Safety and Efficacy Evaluation of xxxx vs xxxx as Split-Dose Bowel Cleansing Preparations in
      Adult Subjects (SI)

      Quantitative mRNA Assays to Identify Individuals with Inflammatory Bowel Disease (SI)

      2006

      An Open-Label, 2-way, Crossover Study of Steady-state Intragastric pH Control Comparing 2
      Dosage Regimens of xxxx and xxxx in Barrett's Esophagus Patients. (SI)

      A Multicenter, Open-Label Trial to Evaluate the Long-Term Safety and Tolerability of New
      xxxx Tablet Formulation in Patients with Ulcerative Colitis. (SI)

      A Randomized, Double-Blind, Placebo-Controlled Study to Assess the Safety and Efficacy of



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      xxxx for the Symptomatic Treatment of Diarrhea-Predominant Irritable Bowel Syndrome (d-
      IBS) in Females. (SI)

      A Randomized, Placebo-Controlled, Double-Blind Study of xxxx for the Treatment of Chronic
      Constipation. (PI)

      A 12-Week, Randomized, Double-Blind, Dose-Ranging, Placebo-Controlled Study of xxxx in
      Subjects with Irritable Bowel Syndrome. (SI)

      A Phase 3 Study to Evaluate the Efficacy and Safety of xxxx Compared to Placebo on
      Symptom Relief in Subjects with Symptomatic Non-Erosive Gastroesophageal Reflux Disease
      (GERD). (SI)

      A Phase 3 Study to Evaluate the Safety and Efficacy of xxxx Compared to Placebo in
      Maintenance of Healing in Subjects with Healed Erosive Esophagitis. (SI)

      Multi-center Randomized, Double-Blind, Placebo-Controlled Trial of xxxx in the Treatment of
      Mild to Moderate Active Crohn's Disease in Adults. (SI)

      A Multicenter, Randomized, Double-Blind, Actively Controlled Trial to Evaluate the Safety
      and Efficacy of a New Tablet Formulation and Dosing Regimen of xxxx Versus xxxx as xxxx
      in Mildly to Moderately Active Ulcerative Colitis. (SI)

      A Phase 2, Multicenter, Randomized, Double-Blind, Placebo-Controlled Study to Assess the
      Efficacy and Safety of xxxx in the Treatment of Patients with Diarrhea-Associated Irritable
      Bowel Syndrome. (SI)

      2005

      A Phase 3, Randomized, Double-Blind, Dose-Controlled Study to Assess the Efficacy and
      Safety of xxxx for Minimal-to-Moderate Sedation in Patients Undergoing Colonoscopy. (SI)

      Determination of the Minimal Clinically Important Difference (MCID) of the Patient-Oriented
      Self Assessment
      Scale xxxx in Patients Suffering from Endoscopically Confirmed Gastroesophageal Reflux
      Disease (GERD), Grade A-D According to Los Angeles Classification Treated with Pantoprazole
      40mg o.d. or Placebo o.d. Over One Week. (SI)

      A Multicentre, Open-Label Study to Evaluate the Long-Term Safety and Efficacy of xxxx in
      Patients Suffering
      From Functional Dyspepsia. (SI)

      A Phase II, Randomized, Open-Label Study to Assess the Safety and Efficacy of xxxx Versus
      xxxx for Sedation in Elderly Patients Undergoing Colonoscopy Procedures. (SI)

      A Phase 3, Multi-Center, 52-Week, Open-Label, Extension Study of the Safety and Efficacy of



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      xxxx in the Treatment of Subjects with Ulcerative Colitis. (SI)

      A Randomized, Double-Blind, Dose-Response Study to Assess the Efficacy and Safety of xxxx
      for Procedural Sedation in Patients Undergoing Colonoscopy. (SI)

      Efficacy and Safety of xxxx for Treating Heartburn in Frequent Sufferers. (SI)

      A Phase 3 Study to Evaluate the Efficacy and Safety of xxxx Compared to Placebo on
      Symptom Relief in Subjects with Symptomatic Non-Erosive Gastroesophageal Reflux Disease
      (GERD). (SI)

      A Phase 3 Study to Evaluate the Efficacy and Safety of xxxx and an Active Comparator, xxxx
      on Healing of Erosive Esophagitis. (SI)

      A Phase 3 Study to Evaluate the Safety and Efficacy of xxxx Compared to Placebo in
      Maintenance of Healing in Subjects with Healed Erosive Esophagitis. (SI)

      A Phase 3, Open-Label Study to Assess the Long-Term Safety of xxxx. (SI)

      2004

      A Multicentre, Randomized, Double-Blind, Placebo-Controlled Study of the Efficacy and
      Safety of xxxx in Patients Suffering from Functional Dyspepsia.

      A Phase III, Randomized, Open-Label Study to Assess the Safety and Efficacy of xxxx Versus
      xxxx for Sedation in Patients Undergoing Colonoscopy Procedures.

      A Phase 3 Multicenter, Randomized, Double-Blind, Placebo-Controlled, Parallel-Arm Study of
      the Efficacy and Safety of xxxx in the Treatment of Subjects with Active Ulcerative Colitis.

      A double blind, placebo-controlled study of xxxx maintenance intermittent therapy following
      acute treatment in patients with symptomatic Gastroesophageal Reflux Disease.

      A Multi-Center, Open-Label Study of the xxxx to Evaluate the Long-Term Safety and
      Tolerability of Repeated Administration of xxxx in Subjects with Crohn's Disease.

      A Multi-Center, Randomized, Double-Blind, Placebo-Controlled Study of the xxxxfor the
      Induction of Clinical Remission in Subjects with Moderate to Severe Crohn's Disease who Have
      Lost Response or are Intolerant to xxxx.

      2003

      Multi-Center, Double- Blind, Randomized, Placebo-Controlled Phase III Study of the Efficacy
      and Safety of Oral xxxx for the treatment of Occasional Constipation.

      Double-Blind, Placebo-Controlled, Randomized, Multi-Center Study to Investigate the Safety and



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      Efficacy of 2 mg TID of xxxx over 12 weeks in Diarrhea-Predominant Irritable Bowel Syndrome
      Subjects.

      Functional Dyspepsia

      Multi-Center, Randomized, Double-Blind, Double-Dummy, Parallel-Group Comparison of the
      Remission Rates for Once Daily Treatment with xxxx 20 mg and xxxx 15 mg for 6 months in
      Patients whose Erosive Esophagitis has been healed.

      Comparative Efficacy and Safety Study of xxxx Delayed-Release Capsules 40 mg qd and 20 mg
      qd versus xxxx 150 mg bid for the Healing of NSAID-associated Gastric Ulcers when Daily
      NSAID use is continued.

      Comparative Efficacy and Safety Study of xxxx Delayed-Release Capsules 40 mg qd and 20 mg
      qd versus Placebo for the Prevention of Gastric and Duodenal Ulcers Associated with Daily
      NSAID use in Patients at Risk.

      Randomized, Double-Blind Trial Comparing the Early Profile of Heartburn Relief Associated
      with xxxx 20 mg
      daily versus xxxx 20 mg once daily in Gastroesophageal Reflux Disease Patients with an Acute o
      Documented History of Erosive Esophagitis.

      Randomized, Double-Blind, Placebo-Controlled, Dose Finding, Multi-Center Study to Assess the
      Efficacy, Safety and Tolerability of xxxx given Orally at Three Doses 1.5 mg, 6 mg or 18 mg and
      Placebo in Patients with Functional Dyspepsia and Documented Normal Gastric Emptying.

      10 Day Pre-Screen xxxx plus Aspirin versus xxxx plus Aspirin versus Placebo versus Aspirin;
      Two UGI Endoscopies in 7 Days, Healthy Adults 50-75.

      2002

      Osteo and Rheumatoid Arthritis
      Multi-Center, Open-Label, Safety Study of Oral xxxx for the treatment of Occasional
      Constipation.

      2001

      Colon Polyps
      Erosive Esophagitis
      Irritable Bowel Syndrome
      Surveillance study to assess the long-term safety and tolerability of xxxx in patients with
      symptoms of Functional Dyspepsia.

      Open Label, Randomized, Multi-Center Clinical Trial to Assess the Long-Term Safety of xxxx
      150 mg twice daily, and xxxx 300 mg once daily in subjects with Erosive Gastroesophageal
      Reflux Disease.



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      2000

      Osteo and Rheumatoid Arthritis
      Irritable Bowel Syndrome

      Double-Blind, Placebo-Controlled, Randomized, Multi-Center to Investigate the Efficacy and
      Safety of xxxx in Non-Constipated Patients with Established Irritable Bowel Syndrome.

      1999

      Ulcer
      GERD
      Erosive Esophagitis
      Chronic Constipation
      Irritable Bowel Syndrome/Constipation

      1998

      Irritable Bowel Syndrome
      Non Constipation with Irritable Bowel Syndrome
      Ulcers
      Digestive Signs and Symptoms Associated with Diabetes
      Erosive Esophagitis

      1997

      Irritable Bowel Syndrome
      Non-Ulcer Dyspepsia in Patients with or without H. Pylori
      Ulcers Associated Osteo/Rheumatoid Arthritis



      COMMUNITY

                    Millsaps College Alumni Council, 1998 – 2002

                    YMCA Board of Trustees, 2000 – 2005

                    United Methodist Women: Board of Directors/Community Fund of
                    Greater Jackson, 2004 – 2008

                    Boy Scouts of America, Andrew Jackson Council
                    Executive Committee, 2004 - Present

                    Millsaps College: Board of Trustees, Academic Review Committee,



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                    2006 – 2011

                    St. Andrew’s Episcopal School: Board of Trustees, Academic Review
                    Committee, Buildings and Grounds Committee, 2006 – Present


      RESEARCH EXPERIENCE

                    Investigation, using myoelectrical recording techniques, or nerve and muscle of
                    the small intestine in diarrhea caused by certain infectious organisms and their
                    enterotoxins.

                    Investigation of patients who are infected with human immunodeficiency
                    syndrome-1 (HIV – 1) with unexplained nausea, vomiting, and abdominal pain.

                    Treatment of CMV –Induced Gastrointestinal disease in patients who are
                    seropositive for HIV-1: a. Monoclonal Antibody, and b. Foscarvir.

                    Treatment of Hepatitis C. Virus in patients who are serpositive for HIV-1.

                    Saccharide Intestinal permeability in patients whose serum is positive for HIV-1.


      PROFESSIONAL PRESENTATIONS

         1. Endocinch: A Novel Treatment for GERD. V. Reeves-Darby, M.D., presented at the
            SGNA Tri-State Meeting, Biloxi, Mississippi, September 2002.

         2. Gastroesophageal Reflux Disease. V. Reeve-Darby, M.D., presented at the Mississippi
            Physicians and Surgeons Association, Biloxi, Mississippi, May 1996.

         3. H Pylori. V. Reeves-Darby, M.D., presented to Brazosport Memorial Hospital,
            Brazosport, Texas, 1996.

         4. Hepatitis C Therapy. V. Reeves-Darby, M.D., presented to Brazosport Memorial
            Hospital, Brazosport, Texas, 1996.

         5. Gastrointestinal Manifestations of AIDS. V. Reeves-Darby, M.D., presented to St.
            Joseph Hospital, Houston, Texas, 1995.

         6. Gastrointestinal Manifestation of AIDS. V. Reeves-Darby, M.D., presented to the
            Memorial Southeast, Houston, Texas, 1995.

         7. Gastrointestinal Manifestations of AIDS. V. Reeves-Darby, M.D., presented at the
            Gulf Coast Regional Conference, Galveston, Texas, 1992.




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         8. Pneumatosis Cystoids Intestinalis. V. Reeves-Darby, M.D., presented at Houston
            Gastroenterological Society, September 1989, oral presentation.

         9. Pathophysiology of Chronic Hepatitis. V. Reeves-Darby, M.D., presented to
            University of Texas Medical Branch, Division of Gastroenterology, May 1990, oral
            presentation.

         10. Gastrointestinal Manifestations of AIDS. V. Reeves-Darby, M.D., presented to
             University of Texas Medical Branch, Department of Family Practice, October 1990, oral
             presentation.

         11. AIDS Diarrhea. V. Reeves-Darby, M.D., presented at “Somatosatin Agonist Therapy:
             New Directions in Clinical Reasearch”, University of Michigan, Ann Arbor, October
             1990, oral presentation.

         12. Somastatin Analog Affects Small Bowel Motility in AIDS Patients with
             Cryptosporidiosis-Induces Diarrhea. V. Reeves-Darby, M.D., “The North American
             Conference of Gastroenterology Fellows”, San Diego, California, February 21-2, 1991,
             oral presentation.

         13. Drug-Induced Liver Injury. V. Reeves-Darby, M.D., presented to Mississippi
             Pharmaceutical Association, May 2009, Biloxi, Mississippi.

         14. C. Difficile Colitis. V. Reeves-Darby, M.D., VA Nurse Practitioners Course, September
             2012, Jackson, Mississippi


      Research – Bench:

      Pathogenesis of experimental cholera: effects of antisecretory and antimotility agents in a rabbit
      model – completed 1996.

      Research – Clinical:

      “A Randomized Comparative Multicenter Trial of Fluconazole and Ketaconasone in the
      Treatment of Esophageal Candidiasis in Immunocompromised Patient” – completed 1990.

      “A Comparative Study of the Efficiency and Safety of Misoprostol (Cytotec) and Sucralfate
      (Carafate) in the Prevention of NSAID-Induced Gastric Ulcers: - completed 1989.

      “A Multicenter Placebo-Controlled dose Titration Study to Evaluate the Efficacy and Safety of
      Sandostatin (SMS201-9995) in Patients with Acquired Immunodeficiency Related Diarrhea” –
      completed 1992.

      “Evaluation of the Small Bowel Motility in Patients Seropositive for the Human
      Immunodeficiency Virus Type I Syndrome” – completed 1995.



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      “Pathogenesis of Experimental Cholera: Effects of Antisecretory and Antimotility
      Pharmacologic Agents” – completed 1996.

      “Saccharide Intestinal Permeability Study in HIV-1 Patients” – completed 1996.

      “A Controlled Trial of the Treatment of Chronic Hepatitis C Virus (HCV) Infection with Alpha
      Interferon in Patients with Human Immunodeficiency Virus (HIV) Infections and CD4
      Lymphocytes Greater than or Equal to cell/mm” – completed 1997.

      “Phase III Multicenter, Open Label, Randomized Trial of Induction vs. Induction Plus
      Maintenance Foscavir Therapy for Gastrointestinal CMV Disease” – completed 1996.


      BIBLIOGRAPHY

      PUBLISHED

         1. Faruque FS, Zhang X, Nichols EN, Bradley DL, Reeves-Darby R, Reeves-Darby VG,
             Duhe RJ. The Impact of Preventive Screening Resource Distribution on Geographic and
             Population-based Disparities in Colorectal Cancer in Mississippi. BioMed Central, 2015
         2. Reeves-Darby VG, Soloway RD, Halpert R. Gastric Bezoar Complicating Gastric
             Stapling, Am J Gastroenterology 1990; 85:326-7. (Letter)
         3. Reeves-Darby VG, Soloway RD, Halpert R. Gastric Bezoar Complicating Gastric
             Stapling, Am J Gastroenterology 1990; 95:1536 (letter).
         4. Mathias, JR. Reeves–Darby VG, and Clench MH. Gastroduodenal Motility. Current
             Opinion in Gastroenterology 7:913-919, 1991.
         5. Reeves-Darby VG, and Mathias JR. Motility Disorders of the Small Intestine.
             Contemporary Internal Medicine. 3 (10):92-113,1991.
         6. Simon DM, Cello JP, Valenzuela J, Levy R, Dickerson G, Goodman R, Brown M,
             Lyche K, Fessel WJ, Grendell J, Wilcox MC, Afdhal N, Fogel R, Reeves-Darby VG,
             Stern J, Smith O, Graziano F, Pleakow D, Carpenter C, Loveless M, Erno L, Basuk P,
             Orenstein J. Multicenter Placebo-controlled Trial of the effectiveness of octreocide in
             patients with refractory AIDS-associated Diarrhea. Annals of Internal Medicine
             115:705-710, 1991.
         7. Mathias JR, Khanna R, Nealon WH, Browne RM, Reeves-Darby VG, and Clench MH.
             Roux limb motility after total gastrectomy and Roux-En-Y anastomosis in patients with
             Zollinger-Ellison Syndrome. Dig. Dis. Sci. 37:1761-1768, 1992
         8. Mathias JR, Baskin GS, Reeves-Darby VG, Clench MH, Smith LL, and Calhoun JH.
             Chronic intestinal pseudo-obstruction in a patient with heart-lung transplant; therapeutic
             effect of leuprolide acetate. Dig. Sci. 37:1761-1768, 1992.
         9. Kalangi S, Clench MH, Reeves-Darby VG, Roberts PH, Mathias JR. Therapeutic effects
             of leuprolide acetate (LA) in patients with Type I Diabetes Mellitus and associated
             neuromuscular disease of the GI tract. Digestive Diseases and Science, 1992.
         10. Mathias JR, Reeves-Darby VG, and Clench MH. Gastroduodenal motility, Current
             Opinion in Gastroenterology 8:952-958, 1992.



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         11. Reeves-Darby VG, Pathogenicity of protozoa in stool. The Consultant. 33:10; 1993.
         12. Reeves-Darby VG, Soloway RD, Biliary Infections. Current Opinion in
             Gastroenterology 9:817-820, 1993.
         13. Mathias JR, Clench MH, Reeves-Darby VG, Fox LM, Hsu PH, Roberts PH, Smith LL,
             Stiglich NJ. Effects of leuprolide acetate in patients with moderate to severe functional
             bowel disease: double-blind, placebo-controlled study. Digestive Disease and Sciences
             39:1155-1162, 1994.
         14. Mathias JR, Clench MH, Roberts PH, Reeves-Darby VG. Effect of leuprolide acetate in
             patients with functional bowel disease: long-term follow-up after double-blind, placebo-
             controlled study. Digestive Disease and Sciences 39:1163-1170, 1994.
         15. Reeves-Darby VG, Turner JA, Prasad R, Chopra AK, Chary P, Clench MH, Peterson
             JW, Mathias JR. Myoelectric activity of cloned cholera toxin-like enterotoxin from
             Salmonella typhimurium in rabbit ileum in vivo. FEMS 134:239-244, 1995.


      CHAPTERS

            Reeves-Darby VG, Mathias JR, Toxigenic Diarrheas. Chapter 52, ed. William J.
            Snape, Jr., W. B Saunders Company, Philadelphia, PA 1996. p 372-380


      ABSTRACTS

         1. Faruque F, Xu Z, Nichols EN, Bradley DL, Reeves-Darby R, Reeves-Darby VG, Duhé
            RJ, 2016, “The impact of preventive screening resource distribution on geographic and
            population-based disparities in colorectal cancer in Mississippi”, 1st Annual Symposium
            of the Southeastern Colorectal Cancer Consortium, Atlanta, GA
         2. Reeves-Darby VG, Mathias JR. Somastatin Analog Effects of Small-Bowel Motility in
            AIDS Patients with Cryptosporidiosis-Induces Diarrhea. In: Abstracts of the World
            Congresses of Gastroenterology. Sydney 1990. Abingdon: The Medicine Group (UK)
            ltd 1990: PP711.
         3. Reeves-Darby VG, Mathias JR. Somastatin Analog Effects of Small-Bowel Motility in
            AIDS Patients with Cryptosporidiosis-Induced Diarrhea. The James W. McLaughlin
            Fellowship Fund Research Colloquium, University of Texas Medical Branch, Galveston,
            Texas, March 15, 1990.
         4. Khanna R, Browne R, Heiner AD, Nealon WH, Reeves-Darby VG, Clench MH, Mathias
            JR. Motility of the Roux-En-Y Anastomosis in Patients with the Zollinger-Ellison
            Syndrome. American Gastroenterological Association. San Antonio, Texas, May 15,
            1990.
         5. Reeves-Darby VG, Mathias JR, Abnormal Gastrointestinal (GI) Motility in Patients
            with Human Immunodeficiency Virus 1 (HIV-1), the James W. McLaughlin Fellowship
            Fund Research Colloquium, University of Texas Medical Branch, Galveston, Texas,
            March 1, 1991.
         6. Reeves-Darby VG, Mathias JR, Clench MH. Abnormal Gastrointestinal (GI) Motility in
            Patients with Human Immunodeficiency Virus 1 (HIV-1). Gastroenterology, 100, No. 5,
            Part 2, A608, 1991.



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         7. Mathias JR, Baskin G, Reeves-Darby VG, Clench, MH, Smith LL, Calhoun JH.
             Chronic Intermittent Intestinal Pseudo-obstruction (CIPO) in a Patient with Heart-Lung
             Transplant: Etiologic Role Cytomegalovirus (CMV) Infection and Therapeutic Effect of
             Leuprolide Acetate. Gastroenterology, 100, No. 5, Part 2 A596, 1991.
         8. Reeves-Darby VG, Mathias JR, Clench MH, Peristaltic Rush (PR) in Acquired
             Immunodeficiency Syndrome (AIDS)-Related Diarrhea: Effects of Somastatin Analog.
             Gastroenterology, 100, No. 5, Part 2, A486, 1991.
         9. Schonecker JA, Reeves-Darby VG, Urrutia F. Small bowel enteroscopy: experience
             with 52 patients. American College of Gastroenterology, New York, New York, 1993
         10. Reeves-Darby VG, Laine L, Rodriquez D, Wilcox CM, Foxx-Orenstein A, Rabeneck L,
             Cello J, Greenberg P, Kessler H, Brown M, Lake-Bakaar G, Climar N, Poles M,
             Dieterick Douglas. A Randomized Trail of Foscarnet Maintenance Therapy Versus
             Observation for CMV Gastrointestinal Disease (ASTRA FOS 29). XI International
             Conference on AIDS, 1996.


      WITHDRAWN FOR PUBLICATION

         1. Reeves-Darby VG, Clench MH, Pollard RB, Mathias JR, Diarrheogenic motility in
            patients with human immunodeficiency virus type 1: effects of octreotide acetate.
            Journal of Gastrointestinal Motility, 1994. (withdrawn)

         2. Mathias JR, Clench MH, Forsythe PA, Roberts PH, Reeves-Darby VG. Serum relaxin
            levels detected in non-pregnant women with functional bowel disease and reduced by
            leuprolide acetate. Fertility and Sterility, 1994. (withdrawn)




            Vonda G. Reeves-Darby, M.D.                               Date




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                          EXHIBIT C




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                       VONDA REEVES-DARBY, M.D. FEE SCHEDULE



   1. Medical review, literature search:   $500/hr

   2. Case review with attorneys:          $500/hr.

   3. Depositions: 1st hour                $2000/hr

                    2nd or subsequent hr   $1000/hr

   4. Travel:       Full day               $8000/d

                    Half day or less       $4000/d

   5. Cancellations: 24 h notice           $4000

                     48 h notice           $2000




                                                                             USCA5 3112
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                          EXHIBIT D




                                                                             USCA5 3113
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   Stubbs, MD, et al., in Adams County Circuit Court, MS.




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